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                    10                                 UNITED STATES BANKRUPTCY COURT
                    11                                      FOR THE DISTRICT OF NEVADA
                    12      In re:                                            Case No.: BK-S-18-14683-leb
                    13                                                        Chapter 11
                            GUMP’S HOLDINGS, LLC
                    14                                                        Jointly administered with:
                                     Affects this Debtor.
                    15
                                                                              No. BK-S-14684 (In re Gump’s Corp.)
                                     Affects all Debtors.
                    16                                                        No. BK-S-14685 (In re Gump’s By Mail, Inc.)
                    17               Affects Gump’s Corp.
                    18                                                        Hearing Date: N/A
                                     Affects Gump’s By Mail, Inc.             Hearing Time: N/A
                    19

                    20       EX PARTE APPLICATION FOR ORDER SHORTENING TIME TO HEAR MOTIONS
                    21
                                     Gump’s Holdings, LLC, Gump’s Corp., and Gump’s By Mail, Inc. (collectively, “Debtors”),
                    22
                            debtors and debtors-in-possession, hereby respectfully submit this ex parte application (the
                    23
                            “Application”) seeking entry of an order shortening time, substantially in the form attached hereto
                    24
                            as Exhibit 1, to hear the following motions filed by Debtors:
                    25
                                       (i)    Amended Motion for Order Pursuant to Sections 105, 363, and 365 of the
                    26
                                              Bankruptcy Code and Rules 2002, 6004 and 6006 of the Federal Rules of
                    27
                                              Bankruptcy Procedure: (i) Approving Bid Procedures with Respect to Sale of
                    28
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                      1                       Certain IP Assets, Setting the Sale Hearing Date; and (ii) Approving and

                      2                       Authorizing the Sale of IP Assets to the highest and Bets Bidder Free and Clear of

                      3                       All Liens, Interests, Claims and Encumbrances, the Assumption and Assignment of

                      4                       Certain Related Executory Contracts, and Waiving the Requirements of Bankruptcy

                      5                       Rules 6004(h) and 6006(d) [ECF No. 90] (herein, the “Sale Process Motion”); and

                      6               (ii)    Application for Order Authorizing Retention of Lincoln International LLC as

                      7                       Financial Advisor to Debtors Pursuant to 11 U.S.C. §§ 327 and 328 [ECF No. 93]

                      8     (“Lincoln Retention Application” and collectively with the Sale Process Motion, the “Motions”).

                      9              Debtors respectfully request that the Motions be heard on shortened time on the afternoon

                    10      of August 29, 2018.

                    11               With respect to the Sale Process Motion, the Court is only being asked to approve the

                    12      procedures to be used in connection with the sale of the assets subject to the motion. The

                    13      auction and hearing to approve the sale, as well as objections thereto, will occur or be due

                    14      after the hearing requested by this Application. However, Debtors request a final hearing on

                    15      the Lincoln Retention Application given the narrow scope of retention and the fixed

                    16      commission/contingency based nature of the fee; Debtors believe there is no reason that the

                    17      Lincoln Retention Application should not be heard on a final basis at the hearing request in this

                    18      Application.

                    19               Debtors anticipate that the hearing on the Motions will last approximately one (1) hour.

                    20               This Application for order shortening time to hear the Motions is made and based upon

                    21      Bankruptcy Rule 9006, the following Memorandum of Points and Authorities and the declaration

                    22      of William M. Noall, Esq. (the “Noall Declaration”) set for the below, the Attorney Information

                    23      Sheet filed contemporaneously herewith, and the papers and pleading on file herein, judicial notice

                    24      of which is respectfully requested.

                    25                             MEMORANDUM OF POINTS AND AUTHORITIES
                                                                     I.
                    26                              DECLARATION OF WILLIAM M. NOALL, ESQ.
                    27               I, William M. Noall, Esq., declare, under penalty of perjury under the law of the State of
                    28
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                      1     Nevada and the United States of America, as follows:

                      2              1.       I am over the age of 18 and am mentally competent.

                      3              2.       I am an attorney at Garman Turner Gordon LLP (“GTG”), counsel for Debtors in

                      4     these chapter 11 cases. As such, I have personal knowledge of the facts stated in this Declaration,

                      5     except where stated upon information and belief, and as to facts stated upon information and belief,

                      6     I am informed of those facts and believe them to be true. If called upon to testify as to the matters

                      7     herein, I could and would do so.

                      8              3.       The Court will recall that a condition to the extension of DIP credit by Sterling

                      9     Business Credit, LLC (“Sterling”), Sterling demanded and the Court ordered that the sale of

                    10      Debtors’ intellectual and other related property (“IP Assets”) would occur by September 30, 2018,

                    11      unless that date was extended by Sterling. Although Lincoln International LLC (“Lincoln”) was

                    12      retained by Debtors pre-petition in connection with the marketing for sale of the Debtors as a going

                    13      concern, only yesterday was an agreement worked out between Lincoln, Sterling and Debtors with

                    14      respect to Debtors’ post-petition engagement of Lincoln to sell the IP Assets, which is subject to

                    15      the Lincoln Application.

                    16               4.       With respect to the Sale Process Motion, the Court is only being asked to approve

                    17      the provided procedures to be used in connection with the sale of the assets subject to that motion.

                    18      The auction and hearing to approve the sale, as well as objections thereto, will occur or be due

                    19      after the hearing requested by this Application.

                    20               5.       However, Debtors do request a final hearing on Lincoln Retention Application.

                    21      Given the narrow scope of Lincoln’s retention and the straightforward commission/contingency

                    22      nature of Lincoln’s proposed fee, it is unnecessary for Lincoln to be exposed to having its fee

                    23      structure reconsidered later given the deadline for concluding the auction that is subject to the Sale

                    24      Process Motion.

                    25               6.       Because the sale procedures must be approved so potential purchasers will

                    26      understand the bidding ruleset with respect to the IP Asset sale, and because Lincoln has been

                    27      engaged by Debtors, subject to Court approval, to handle the marketing of the IP Assets to be sold

                    28      pursuant to the Sale Process Motion, the Court should grant an order shortening time to hear the
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                      1     Motions.

                      2              7.       Thus, good cause exists to hear the Motions on shortened time.

                      3              8.       I request that the Court set the Motions on the afternoon of August 29, 2018. I will

                      4     be outside the state and without access to phone service on August 27 and 28, 2018. The Court’s

                      5     deputy has advised that the afternoon of August 29, 2018 is available on the Court’s calendar for

                      6     a hearing.

                      7              DATED this 21st day of August 2018.

                      8
                                                                                   By: /s/ William M. Noall
                      9                                                               WILLIAM M. NOALL, ESQ.
                    10                                                    II.
                                                                    LEGAL ARGUMENT
                    11
                                     Section 105 allows this Court to issue such orders as are necessary to carry out the
                    12
                            provisions of this title. See 11 U.S.C. § 105. Bankruptcy Rule 9006(c)(1) generally permits a
                    13
                            bankruptcy court, for cause shown and in its discretion, to reduce the period during which any
                    14
                            notice is given in accordance with the Bankruptcy Rules.            In particular, Bankruptcy Rule
                    15
                            9006(c)(1) provides as follows:
                    16
                                              [e]xcept as provided in paragraph (2) of this subdivision, when an act is
                    17                        required or allowed to be done at or within a specified time by these rules
                    18                        or by a notice given thereunder or by order of court, the court for cause
                                              shown may in its discretion with or without motion or notice order the
                    19                        period reduced.

                    20      FED. R. BANKR. P. 9006(c)(1).

                    21               Local Rule 9006 provides further authority for shortening the time for a hearing.

                    22      According to Local Rule 9006(b), every motion for an order shortening time must be accompanied

                    23      by an affidavit stating the reasons for an expedited hearing. As set forth in the Noall Declaration,

                    24      there are compelling reasons for an expedited hearing on the Motions. As such, good cause exists

                    25      to hear the Motions on shortened time on the afternoon of August 29, 2018.

                    26               Local Rule 9006 also requires the moving party to submit an Attorney Information Sheet

                    27      indicating whether opposing counsel was provided with notice, whether opposing counsel

                    28      consented to the hearing on an order shortening time, the date counsel was provided with notice,
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                      1     and how notice was provided or attempted to be provided. An Attorney Information Sheet was

                      2     filed contemporaneously with this Application.

                      3                                                III.
                                                                    CONCLUSION
                      4
                                     WHEREFORE, Debtors respectfully request that the Court grant this Ex Parte Application
                      5
                            and issue an order shortening time to hear the Motions on the afternoon of August 29, 2018.
                      6
                            Debtors request such other and further relief as the Court deems just and proper.
                      7
                                     DATED: August 21, 2018.
                      8
                                                                         GARMAN TURNER GORDON LLP
                      9
                    10                                                   By: /s/ William M. Noall
                    11                                                   WILLIAM M. NOALL
                                                                         GABRIELLE A. HAMM
                    12                                                   MARK M. WEISENMILLER
                                                                         650 White Drive, Suite 100
                    13                                                   Las Vegas, Nevada 89119
                                                                         Attorneys for Debtors
                    14

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           EXHIBIT 1




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                            Attorneys for Debtors
                    16
                                                       UNITED STATES BANKRUPTCY COURT
                    17
                                                            FOR THE DISTRICT OF NEVADA
                    18
                            In re:                                         Case No.: BK-S-18-14683-leb
                    19                                                     Chapter 11
                            GUMP’S HOLDINGS, LLC
                    20
                                     Affects this Debtor.                  Jointly administered with:
                    21

                    22                                                     No. BK-S-14684 (In re Gump’s Corp.)
                                     Affects all Debtors.
                                                                           No. BK-S-14685 (In re Gump’s By Mail, Inc.)
                    23
                                     Affects Gump’s Corp.
                    24
                                                                           Hearing Date: ___________________
                    25               Affects Gump’s By Mail, Inc.          Hearing Time: ___________________

                    26
                                NOTICE OF HEARING AND ORDER SHORTENING TIME TO HEAR MOTIONS
                    27
                                     On August 15, 2018, Gump’s Holdings, LLC, Gump’s Corp., and Gump’s By Mail, Inc.
                    28
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     (725) 777-3000

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                      1     (collectively, “Debtors”), debtors and debtors-in-possession, filed their:

                      2                (i)    Amended Motion for Order Pursuant to Sections 105, 363, and 365 of the

                      3                       Bankruptcy Code and Rules 2002, 6004 and 6006 of the Federal Rules of

                      4                       Bankruptcy Procedure: (i) Approving Bid Procedures with Respect to Sale of

                      5                       Certain IP Assets, Setting the Sale Hearing Date; and (ii) Approving and

                      6                       Authorizing the Sale of IP Assets to the highest and Bets Bidder Free and Clear of

                      7                       All Liens, Interests, Claims and Encumbrances, the Assumption and Assignment of

                      8                       Certain Related Executory Contracts, and Waiving the Requirements of Bankruptcy

                      9                       Rules 6004(h) and 6006(d) [ECF No. 90] (“Sale Process Motion”)

                    10                (ii)    Application for Order Authorizing Retention of Lincoln International LLC as

                    11                        Financial Advisor to Debtors Pursuant to 11 U.S.C. §§ 327 and 328 [ECF No. 93]

                    12      (“Lincoln Retention Application” and collectively with the Sale Process Motion, the “Motions”).

                    13               In the Motions, Debtors request orders (i) approving bidding procedures with respect to the

                    14      sale of its intellectual property assets, (ii) setting the date for the auction and sale hearing;

                    15      (ii) approving and authorizing the sale of IP Assets to the highest and best bidder free and clear of

                    16      all liens, interests, claims and encumbrances, the assumption and assignment of certain related

                    17      executory contracts, and waiving the requirements of Bankruptcy Rules 6004(h) and 6006(d); and

                    18      (iii) authorizing Debtors to employ and retain Lincoln International LLC to serve as financial

                    19      advisor for Debtors, nunc pro tunc to the Petition Date.

                    20               The Court, having considered the Ex Parte Application for Order Shortening Time to Hear

                    21      Motions, and good cause appearing therefore,

                    22               IT IS HEREBY ORDERED and notice is hereby given that the Motions shall be heard

                    23      by a United States Bankruptcy Judge on the              day of                               , 2018,

                    24      at          , PROVIDED HOWEVER, THAT WITH RESPECT TO THE SALE PROCESS

                    25      MOTION, THE COURT WILL ONLY CONSIDER THE PROVIDED PROCESS,

                    26      PROCEDURES AND FORMS TO BE USED IN CONNECTION WITH THE SALE OF

                    27      THE IP ASSETS SUBJECT TO THAT MOTION AND WAIVE THE 14 DAY STAY WITH

                    28      RESPECT THERETO. THE AUCTION AND HEARING TO APPROVE THE SALE, AS
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                      1     WELL AS OBJECTIONS THERETO, WILL OCCUR OR BE DUE AFTER THE ABOVE-

                      2     REFERENCED HEARING.

                      3              A copy of the above-referenced Motions and any supporting declarations and exhibits are

                      4     available free of charge at www.donlinrecano.com/gumps, on file with the clerk of the United

                      5     States Bankruptcy Court for the District of Nevada, Foley Federal Building and U.S. Courthouse,

                      6     300 S. Las Vegas Blvd, Las Vegas, NV 89101, or may be obtained by emailing Mark M.

                      7     Weisenmiller, Esq. at the address listed above.

                      8              IT IS HEREBY FURTHER ORDERED that service of this Order Shortening Time shall

                      9     be served within ___ days of entry; that any oppositions to the Motions must be ______

                    10                        ; that replies to any oppositions filed must be filed and served by

                    11               ; and that this hearing may be continued from time to time without further notice except

                    12      for the announcement of any adjourned dates and times at the above noticed hearing or any

                    13      adjournment thereof.

                    14               IT IS SO ORDERED.

                    15       PREPARED AND SUBMITTED:

                    16       GARMAN TURNER GORDON LLP

                    17
                             By: /s/ William M. Noall
                    18           WILLIAM M. NOALL
                                 GABRIELLE A. HAMM
                    19           MARK M. WEISENMILLER
                                 Attorneys for Debtor
                    20
                    21

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